

Matter of Calder (2022 NY Slip Op 00106)





Matter of Calder


2022 NY Slip Op 00106


Decided on January 6, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:January 6, 2022

PM-03-22
[*1]In the Matter of Laurie Finneran Calder, an Attorney. (Attorney Registration No. 2243491.)

Calendar Date:January 3, 2022

Before:Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ.

Laurie Finneran Calder, Bethesda, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Laurie Finneran Calder was admitted to practice by this Court in 1989. Calder now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Calder's application.
Upon reading Calder's affidavit sworn to November 9, 2021 and filed November 15, 2021, and upon reading the December 29, 2021 correspondence in response by the Chief Attorney for AGC, and having determined that Calder is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Laurie Finneran Calder's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Laurie Finneran Calder's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Laurie Finneran Calder is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Calder is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Laurie Finneran Calder shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








